             U NITED S TATES A IR F ORCE
            C OURT OF C RIMINAL APPEALS
                       ________________________

                           No. ACM S32749
                       ________________________

                          UNITED STATES
                              Appellee
                                  v.
                      Makinnon A. MYERS
               Airman (E-2), U.S. Air Force, Appellant
                       ________________________

       Appeal from the United States Air Force Trial Judiciary
                       Decided 22 August 2024
                       ________________________

Military Judge: Christopher D. James.
Sentence: Sentence adjudged on 28 September 2022 by SpCM convened
at Joint Base Pearl Harbor-Hickam, Hawaii. Sentence entered by mili-
tary judge on 23 November 2022: Bad-conduct discharge, confinement
for 165 days, and reduction to E-1.
For Appellant: Major Kasey W. Hawkins, USAF; Major Frederick J.
Johnson, USAF.
For Appellee: Lieutenant Colonel J. Peter Ferrell, USAF; Major Oliva B.
Hoff, USAF; Major Jocelyn Q. Wright, USAF; Mary Ellen Payne, Es-
quire.
Before ANNEXSTAD, GRUEN, and BREEN, Appellate Military Judges.
Judge BREEN delivered the opinion of the court, in which Senior Judge
ANNEXSTAD and Judge GRUEN joined.
                       ________________________

   This is an unpublished opinion and, as such, does not serve as
   precedent under AFCCA Rule of Practice and Procedure 30.4.
                      ________________________
                    United States v. Myers, No. ACM S32749


BREEN, Judge:
    Appellant entered mixed pleas at his court-martial. A military judge sitting
as a special court-martial convicted Appellant, consistent with his pleas, of two
specifications of making a false official statement and two specifications of
wrongfully using a controlled substance (delta-9-tetrahydrocannabinol) in vio-
lation of Articles 107 and 112a, Uniform Code of Military Justice (UCMJ), 10
U.S.C. §§ 907, 912a.1 A special court-martial composed of officer and enlisted
members convicted Appellant, contrary to his pleas, of one specification of com-
municating a threat, in violation of Article 115, UCMJ, 10 U.S.C. § 915.2,3 The
military judge sentenced Appellant to a bad-conduct discharge, confinement
for 165 days, and reduction to the grade of E-1. The convening authority ap-
proved the sentence in its entirety but waived all automatic forfeitures for a
period of six months, until Appellant’s release from confinement, or until the
expiration of his term of service, whichever was sooner, for the benefit of Ap-
pellant’s spouse and two dependent children.
    Appellant raises two issues on appeal: (1) whether Appellant’s conviction
for communicating a threat is legally and factually sufficient; and (2) whether
Appellant’s sentence consisting of a bad-conduct discharge was inappropriately
severe. Additionally, we consider (3) whether Appellant is entitled to relief for
a facially unreasonable appellate delay.
   Finding no error that materially prejudiced Appellant’s substantial rights,
we affirm the findings and sentence.

                                  I. BACKGROUND
    On 13 July 2022, Appellant phoned the Joint Base Pearl Harbor-Hickam
Mental Health Clinic (Clinic) and expressed a desire to self-harm. While still
on the phone with Appellant, the Clinic contacted Appellant’s unit and re-
quested assistance escorting Appellant to the Clinic. They also asked for assis-
tance in retrieving Appellant’s medication, which was causing negative side
effects. Based on direction from the Clinic, Appellant’s first sergeant contacted


1 Unless indicated otherwise, all references to the UCMJ and to the Rules for Courts-

Martial (R.C.M.) are to the Manual for Courts-Martial, United States (2019 ed.)
(MCM).
2 After the announcement of findings by the president, Appellant’s trial defense coun-

sel raised a R.C.M. 917 motion for a finding of not guilty for this specification. The
military judge partially granted the motion and found Appellant not guilty of certain
charged phrases.
3 Consistent with his pleas, Appellant was found not guilty of an additional specifica-

tion of communicating a threat in violation of Article 115, UCMJ.


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                   United States v. Myers, No. ACM S32749


Appellant’s section chief and supervisor to assist him with the requests from
the Clinic staff.
    When the first sergeant, section chief, and immediate supervisor (escort
party) arrived at Appellant’s home, Appellant was still on the phone with the
Clinic. The escort party asked Appellant for his medication, and he went up-
stairs to retrieve it. He then told them that he needed to go to the Clinic but
that the Clinic instructed him not to hang up the phone until he arrived. The
escort party took Appellant to the Clinic.
    At the front desk of the Clinic, Appellant appeared “very quiet, [and] very
calm.” However, after Appellant entered the lobby, he appeared agitated, im-
patient, and jittery. Appellant indicated on an intake form that he wanted to
harm members of his leadership because of the frustration he was experiencing
in trying to separate from the military. As a result of Appellant’s statements
on the form, a mental health technician and a member of the escort party took
Appellant into a private office where Appellant’s pockets were emptied. Ac-
cording to the technician, Appellant verbally reiterated that he wanted to “kill”
“people in his chain of command,” that he had been waiting for a year to sepa-
rate from the military, and that if he was forced back to work the following day
he would “hurt the next person” who told him he had to “wait” to be with his
family in Tennessee. Appellant told the technician that Appellant’s thoughts
of harming his leadership reflected his “will” and that “acting on his plan of
hurting his leadership [wa]s something he ha[d] to do.”
    Appellant then met with a psychiatric nurse practitioner and told her he
was upset, having a hard time sleeping, and had thoughts of hurting other
people—specifically his leadership team and people in the escort party. Appel-
lant also informed the nurse practitioner that he “had thoughts of wanting to
kill other people for many years,” but over the last day “the thoughts ha[d]
changed to desires.” He explained that people in his command staff lied to him,
and that he “wanted to cut their tongues out and staple [them] to their chests.”
Appellant expressed that he had wanted to get out of the Air Force for “quite
some time” but was being prevented from leaving. Finally, he told the nurse
practitioner he could not “leave and be safe” and “felt like he would act on those
thoughts if he left.”
    Upon the psychiatric nurse practitioner’s recommendation, emergency
medical technicians transported Appellant to Tripler Army Medical Center
(TAMC) by ambulance. At TAMC, Appellant remained irritated and impatient.
Appellant, while accompanied by the escort party, was placed in a private, pad-
ded room in the back of the emergency room where he could not harm himself
or others. Multiple treatment personnel came and went from the room to “as-
sess” Appellant, which included routine medical checks and questions about
Appellant’s mental health history. During questions about his mental health

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                    United States v. Myers, No. ACM S32749


history, Appellant, while his section chief remained in the room with Appel-
lant’s permission, told a mental health professional (characterized as a “nurse”
or “somebody in training”) that “if he had to wait one more time, that he was
going to cut out the commander’s or the flight chief’s tongue and staple it to
their chest[ ].” Appellant’s tone was described as “almost like a normal conver-
sation.”
    When a psychologist arrived, the section chief left the room. After some
time passed, the escort party observed the psychologist and Appellant leave
the room. Appellant asked several times to leave the hospital, but the psycholo-
gist told Appellant that he could not leave. Appellant became “heated” and
yelled at the psychologist, saying that he was not staying and that he was going
to walk out of the facility. Eventually, Appellant quieted down, became emo-
tional, and started to cry. The staff gave Appellant a phone to call his wife.
  Later that night, Appellant told his section chief about posts on a social
media platform which led Appellant to believe that making threatening com-
ments would “help him get home to Tennessee.”

                                  II. DISCUSSION
A. Factual and Legal Sufficiency—Communicating a Threat
   1. Law
  We review issues of legal and factual sufficiency de novo. United States v.
Washington, 57 M.J. 394, 399 (C.A.A.F. 2002).
    “The test for legal sufficiency is whether, after viewing the evidence in the
light most favorable to the prosecution, any rational trier of act could have
found the essential elements of the crime beyond a reasonable doubt.” United
States v. Robinson, 77 M.J. 294, 297–98 (C.A.A.F. 2018) (quoting United States
v. Rosario, 76 M.J. 114, 117 (C.A.A.F. 2017)). “The term reasonable doubt, how-
ever, does not mean that the evidence must be free from conflict.” United States
v. Wheeler, 76 M.J. 564, 568 (A.F. Ct. Crim. App. 2107) (citing United States v.
Lips, 22 M.J. 679, 684 (A.F.C.M.R. 1986)), aff’d, 77 M.J. 289 (C.A.A.F. 2018).
“[I]n resolving questions of legal sufficiency, we are bound to draw every rea-
sonable inference from the evidence of record in favor of the prosecution.”
United States v. Barner, 56 M.J. 131, 134 (C.A.A.F. 2001) (citations omitted).
As a result, “[t]he standard for legal sufficiency involves a very low threshold
to sustain a conviction.” United States v. King, 78 M.J. 218, 221 (C.A.A.F. 2019)
(alteration in original) (citation omitted). The test for legal sufficiency “gives
full play to the responsibility of the trier of fact fairly to resolve conflicts in the
testimony, to weigh the evidence, and to draw reasonable inferences from basic
facts to ultimate facts.” United States v. Oliver, 70 M.J. 64, 68 (C.A.A.F. 2011)
(quoting Jackson v. Virginia, 443 U.S. 307, 319 (1979)).

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                     United States v. Myers, No. ACM S32749


    The National Defense Authorization Act for Fiscal Year 2021 (FY21 NDAA)
significantly changed how Courts of Criminal Appeals (CCA) conduct factual
sufficiency reviews. Pub. L. No. 116-283, § 542, 134 Stat. 3388, 3612–13 (1 Jan.
2021). “Congress undoubtedly altered the factual sufficiency standard in
amending the statute, making it more difficult for a [CCA] to overturn a con-
viction for factual sufficiency.” United States v. Harvey, 83 M.J. 685, 691 (N.M.
Ct. Crim. App. 2023), rev. granted, __ M.J. __, No. 23-0239, 2024 CAAF LEXIS
13 (C.A.A.F. 10 Jan. 2024). Previously, the test for factual sufficiency required
the court, after weighing the evidence in the record of trial and making allow-
ances for not having personally observed the witnesses, to be convinced of the
appellant’s guilt beyond a reasonable doubt before it could affirm a finding of
guilty. United States v. Reed, 54 M.J. 37, 41 (C.A.A.F. 2000). “In conducting
this unique appellate role, we [took] ‘a fresh, impartial look at the evidence,’
applying neither a presumption of innocence nor a presumption of guilt’ to
‘make [our] own independent determination as to whether the evidence consti-
tutes proof of each required element beyond a reasonable doubt.’” Wheeler, 76
M.J. at 568 (second alteration in original) (quoting Washington, 57 M.J. at
399).4
   The current version of Article 66(d)(1)(B), UCMJ, FACTUAL SUFFI-
CIENCY REVIEW, states:
        (i) In an appeal of a finding of guilty under subsection (b), the
        Court may consider whether the finding is correct in fact upon a
        request of the accused if the accused makes a specific showing of
        deficiency of proof.
        (ii) After an accused has made a showing, the Court may weigh
        the evidence and determine controverted questions of fact sub-
        ject to—
          (I) appropriate deference to the fact that the trial court saw
          and heard the witnesses and other evidence; and



4 The court is mindful that there are contours of the new factual sufficiency review

standard that arguably could impact applications of the rule as discussed by this court
and our sister service courts. See United States v. Coe, 84 M.J. 537, 542 (A. Ct. Crim.
App. 2024) (en banc); United States v. Harvey, 83 M.J. 685 (N.M. Ct. Crim. App. 2023),
rev. granted, __ M.J. __, No. 23-0239, 2024 CAAF LEXIS (C.A.A.F. 10 Jan. 2024); see
also United States v. Csiti, No. ACM 40386, 2024 CCA LEXIS 160 (A.F. Ct. Crim. App.
29 Apr. 2024) (unpub. op.). These contours are not dispositive in this particular case
as the evidence does not make determination of factual sufficiency a close call for the
specification at issue. Even if we applied our previous factual sufficiency review stand-
ard, we would not grant relief as we ourselves are convinced of Appellant’s guilt of the
specification at issue beyond a reasonable doubt.


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                   United States v. Myers, No. ACM S32749


         (II) appropriate deference to findings of acts entered into the
         record by the military judge.
       (iii) If, as a result of the review conducted under clause (ii), the
       Court is clearly convinced that the finding of guilty was against
       the weight of the evidence, the Court may dismiss, set aside, or
       modify the finding, or affirm a lesser finding.
10 U.S.C. § 866(d)(1)(B), Manual for Courts-Martial, United States (2024 ed.)
(2024 MCM).
    “[T]he factfinder at the trial level is always in the best position to determine
the credibility of a witness.” United States v. Peterson, 48 M.J. 81, 83 (C.A.A.F.
1998).
    As charged, in order to convict Appellant of communicating a threat, pur-
suant to Article 115, UCMJ, the Government was required to prove beyond a
reasonable doubt the following three elements: (1) that Appellant communi-
cated certain language, specifically “cutting out their tongue[s] and stapling it
to their chest, or words to that effect,” which expressed a present determination
or intent to injure the person or another person, presently or in the future; (2)
that the communication was made known to that person or to a third person,
namely a nurse and his section chief; and (3) that the communication was
wrongful. Manual for Courts-Martial, United States (2019 ed.) (MCM), pt. IV,
¶ 53.b.(1).
    The mens rea requirements for the first and third elements of communi-
cating a threat were most recently articulated by the United States Court of
Appeals for the Armed Forces (CAAF) in United States v. Harrington, 83 M.J.
408 (C.A.A.F. 2023).
       The first element of communicating a threat requires an objec-
       tive inquiry, analyzing the existence of the threat from the view-
       point of a “reasonable person in the recipient’s place.” This objec-
       tive inquiry examines both the language of the communication
       itself as well as its surrounding context, which may qualify or
       belie the literal meaning of the language. In contrast to the first
       element, the third element’s requirement of wrongfulness is
       properly understood in relation to the subjective intent of the
       speaker. In determining if the speaker’s subjective intent was
       wrongful under the third element, the key question is not
       whether the speaker intended to carry out the object of the
       threat, but rather “whether the speaker intended his or her
       words to be understood as sincere.”




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                     United States v. Myers, No. ACM S32749


Id. at 414 (first citing United States v. Phillips, 42 M.J. 127, 130 (C.A.A.F.
1995); then citing United States v. Brown, 65 M.J. 227, 231 (C.A.A.F. 2007);
and then citing United States v. Rapert, 75 M.J. 164, 169 n.10 (C.A.A.F. 2016)).5
    A threat conditioned upon a victim’s actions does not preclude a finding
that the language used manifested a then-existing determination to injure. See
United States v. Jones, No. ACM 39766, 2021 CCA LEXIS 73, at *34 (A.F. Ct.
Crim. App. 17 Feb. 2021) (unpub. op.) (citations omitted). Rather, it is only “[i]f
the threatened injury is stated to be contingent on the occurrence of some event
that obviously could not take place [that] an accused is not criminally liable.”
United States v. Alford, 34 M.J. 150, 152 (C.M.A. 1992) (emphasis added); see
also Phillips, 42 M.J. at 131 (holding appellant’s conditional threat to victim of
“keep your d[*]mn mouth shut and [you] will make it through basic training
just fine” was still a threat where there was no reason proffered at trial which
would have prevented the victim from discussing appellant’s misconduct with
others). In addition, unlawful conditions imposed by an appellant as part of
their threatening language do not serve as a basis for undermining the threat.
See Alford, 34 M.J. at 152 (“[I]mposition of a wrongful condition ‘does not
negat[e] a present determination to injure.’” (quoting United States v. Holiday,
16 C.M.R. 28, 33 (C.M.A. 1954))) (additional citation omitted).
    2. Analysis
    Appellant challenges only the first and third elements of the offense in this
case. Appellant argues that his conviction for communicating a threat is both
legally and factually insufficient because (1) his “threat” was merely condi-
tional and did not express a present intent to harm another, and (2) his state-
ments were not wrongful because they were made for “the legitimate purpose
of receiving mental health care.”
        a. First Element – Conditional Threat
    Appellant contends that, by stating “if he had to wait one more time,” the
threat was conditioned on waiting and did not represent a present determina-
tion or intent to injure anyone. We are unpersuaded.



5 The CAAF analysis reviewed communicating a threat in the context of Article 134,

UCMJ, 10 U.S.C. § 934. The applicable version of the offense of communicating a
threat for this case is contained in Article 115, UCMJ (effective 1 January 2019). How-
ever, the substantive elements of the Article 115 version of the offense mirror the ele-
ments contained in the Article 134 version of the offense with the exception that “proof
of the Article 134 ‘terminal element’ is no longer applicable.” See MCM, App. 17, ¶ 53,
at A17-9. The MCM also explicitly notes that in migrating the offense from Article 134
to Article 115, UCMJ, it is explicitly incorporating the prior caselaw interpretations of
“threat” and “wrongful” to the Article 115, UCMJ, version. See id.

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                   United States v. Myers, No. ACM S32749


    Here, Appellant, in his section chief’s presence, communicated to a “nurse”
his desire to cut out the tongues of his commander and flight chief and staple
them to their chests.6 A rational trier of fact could have determined that a rea-
sonable person in the place of the “nurse” could believe Appellant’s statements
expressed a present determination to injure his superiors and was conditioned
only on the status quo of Appellant’s stalled separation status—something
which obviously could take place. The reasonableness of this determination is
underscored by additional evidence properly presented during this trial. This
evidence included Appellant repeating the threat to other individuals and his
inclusion of additional statements indicating that harming his leadership was
“something he ha[d] to do” and how he would act on his homicidal thoughts if
he left the Clinic. In turn, the serious nature of these threats was further sup-
ported by the responsive actions made by the other mental health personnel,
which resulted in a search of Appellant’s person for weapons, the need for the
presence of security personnel, and a final determination that Appellant’s hos-
pitalization was appropriate. All these actions appeared necessary to the men-
tal health professionals to protect the threatened individuals and to appropri-
ately care for Appellant.
       b. Third Element – Legitimate Purpose
   Appellant further argues that even if his statements expressed a present
determination to injure, the Government could not satisfy the third element of
communicating a threat because the threat was made for a legitimate purpose.
    A conviction for communication of a threat requires the Government to
prove the alleged threat was “wrongful.” Appellant argues his statements can-
not be considered “wrongful” because he communicated the threats for “the
legitimate purpose of receiving mental health care.” In support of this argu-
ment Appellant cites United States v. Cotton, 40 M.J. 93, 95 (C.M.A. 1994)
(finding the conviction was legally insufficient because “[t]he evidence [wa]s
uncontradicted that appellant went to the base mental health clinic in great
distress, looking for help,” and the statements were made to describe his state
of mind and not to make a threat (emphasis added)); United States v. Gean, 71
M.J. 553, 554–55 (A. Ct. Crim. App. 2012) (finding appellant’s statements were
“compelled” by a command-directed evaluation and were made to determine
how to “best address his mental and emotional state”); and United States v.
Wright, 65 M.J. 703, 705 (N.M. Ct. Crim. App. 2007) (concluding “uncontra-
dicted statements” made during guilty providence inquiry indicated the


6 Although the record contains testimony that members of the escort party overheard

these statements and they thought the statements may not have been sincere, they
were not the intended recipients of the statements and based their opinions on their
own histories with Appellant.


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                   United States v. Myers, No. ACM S32749


statements were for the purpose of obtaining evaluation and treatment). Ap-
pellant argues that the facts of this case are similar and do not constitute com-
municating a threat as a matter of law.
    This court is mindful that the important nature of the doctor-patient rela-
tionship requires the free exchange of information so that mental health pro-
fessionals can provide proper treatment to affected patients. The courts in Cot-
ton, Gean, and Wright all dealt with cases where the evidence clearly demon-
strated the statements were made solely for the purpose of facilitating treat-
ment. Therefore, their holdings that the “threats” were not wrongful were
based on the purpose behind the statements rather than merely the status of
the individuals who received the statements.
    Here, the evidence showed Appellant told multiple mental health profes-
sionals that he was frustrated with his administrative discharge processing,
that his leadership lied to him, and that he “wanted to cut their tongues out
and staple [them] to their chests.” Appellant further expressed that “he felt
like he would act on those thoughts if he left [the Clinic].” Again, these state-
ments were so believable that mental health personnel requested the presence
of security and determined hospitalization was appropriate. However, the Gov-
ernment also presented evidence that directly contradicted Appellant’s conten-
tion that he made the statements for the legitimate purpose of facilitating his
mental health treatment. After mental health personnel at TAMC determined
Appellant needed to be hospitalized, he reacted very negatively, became emo-
tional, and expressed his desire not to comply with the treatment plan. Addi-
tionally, after speaking with his wife and calming down, Appellant told his
section chief about social media posts that he saw and how these posts ex-
plained that making threats could expedite his separation from the military.
This additional evidence undermines the implication that his threats were
made solely for a legitimate medical purpose.
    In viewing Appellant’s subjective intent at the time he made the state-
ments, a rational finder of fact could determine that Appellant’s subjective in-
tent was to have his threats “understood as sincere.” See Harrington, 83 M.J.
at 414. Additionally, a rational finder of fact could determine these “sincere”
statements were not made solely for the legitimate purpose of seeking medical
treatment but instead to scare his unit and facilitate his discharge. Therefore,
the combination of Appellant’s belief that the communication would be viewed
as a threat along with his illegitimate purpose for making the statement un-
derscores the wrongfulness of his actions and satisfies this element for the of-
fense.
   In conclusion, as to legal sufficiency, viewing the evidence in the light most
favorable to the Government, a rational trier of fact could have found the es-
sential elements beyond a reasonable doubt. See Robinson, 77 M.J. at 297–98.

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                   United States v. Myers, No. ACM S32749


As to factual sufficiency, Appellant properly made a request for a factual suffi-
ciency review by asserting a specific showing of a deficiency of proof as required
under Article 66(d)(1)(B)(i), UCMJ (2024 MCM). However, having given appro-
priate deference to the fact that the court members saw and heard the wit-
nesses and other evidence, the court is not clearly convinced that the finding
of guilty was against the weight of the evidence. Thus, the finding is factually
sufficient. See Article 66(1)(d)(B)(iii), UCMJ (2024 MCM).
B. Inappropriately Severe Sentence
   1. Additional Background
    On 13 July 2022, after communicating threats to injure his supervisors,
Appellant remained hospitalized at TAMC for one-and-a-half days. On 14 July
2022, Appellant’s commander learned about the incident. On 15 July 2022, Ap-
pellant’s commander ordered Appellant into pretrial confinement, and Appel-
lant remained in pretrial confinement through the completion of his special
court-martial.
    In addition to Appellant’s conviction for communicating a threat, Appellant
also pleaded guilty to two specifications of making a false official statement to
avoid going to work and two specifications for wrongfully using gummies con-
taining delta-9-tetrahydrocannabinol, a controlled substance. As part of the
Government’s sentencing case, the Government presented Appellant’s state-
ment detailing the context for his wrongful use of the gummies and false offi-
cial statements. The Government also presented a document detailing admin-
istrative discipline Appellant received during pretrial confinement for “disre-
spect” and “unauthorized writing” by making “inappropriate” statements in his
mail about staff members and other prisoners. Appellant, during his sentenc-
ing case, presented evidence related to his awards and decorations, character
statements, photographs, and Appellant’s oral and written unsworn state-
ments detailing his background, accepting of responsibility for his actions, ex-
pressing remorse, and proclaiming the love he has for his family.
   2. Law
    We review sentence appropriateness de novo. United States v. Lane, 64
M.J. 1, 2 (C.A.A.F. 2016) (footnote omitted). We may affirm only as much of the
sentence we find correct in law and fact. Article 66(d)(1), UCMJ (in law); Arti-
cle 66(d)(1)(A) (2024 MCM) (in fact). “We assess sentence appropriateness by
considering the particular appellant, the nature and seriousness of the of-
fense[s], the appellant’s record of service, and all matters contained in the rec-
ord of trial.” United States v. Sauk, 74 M.J. 594, 606 (A.F. Ct. Crim. App. 2015)
(en banc) (per curiam) (alteration in original) (citation omitted). Although ap-
pellate courts are empowered to “do justice[ ] with reference to some legal
standard,” we are not authorized to grant mercy. United States v. Guinn, 81


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                   United States v. Myers, No. ACM S32749


M.J. 195, 203 (C.A.A.F. 2021) (quoting United States v. Nerad, 69 M.J. 138,
146 (C.A.A.F. 2010)).
   3. Analysis
    Appellant contends that his mental health “struggle[s]” influenced his mis-
conduct and that the offenses for which he was convicted are not “especially
serious.” He argues that, therefore, a bad-conduct discharge “on top of the con-
finement in this case” is not appropriate. We are not persuaded a sentence in-
cluding a bad-conduct discharge is inappropriately severe.
    As detailed in Appellant’s guilty plea and the evidence admitted at trial
and pre-sentencing, Appellant’s crimes included drug use, engaging in dishon-
esty to avoid going to work, and then making threats against his commander
and flight chief. Having considered the nature and seriousness of Appellant’s
misconduct, and matters contained in the entire court-martial record, includ-
ing his record of service, all matters submitted in mitigation, and his written
and verbal unsworn statements, we conclude the adjudged bad-conduct dis-
charge, in addition to 165 days of confinement, and reduction in grade to E-1,
fairly and appropriately punishes Appellant for his misconduct. Therefore, the
adjudged and entered sentence is not inappropriately severe.
C. Timeliness of Appellate Review
    Although not raised by Appellant, we consider whether Appellant is enti-
tled to relief for a facially unreasonable appellate delay. United States v.
Moreno, 63 M.J. 129, 135 (C.A.A.F. 2006) (citations omitted). We find no relief
is warranted.
    We review de novo whether an appellant has been denied the due process
right to speedy appellate review. Id. at 135 (citations omitted). A presumption
of unreasonable delay arises when appellate review is not completed, and a
decision is not rendered within 18 months of a case being docketed. Id. at 142.
Accordingly, we have considered the four factors the CAAF identified in
Moreno to assess whether Appellant’s due process right to timely appellate re-
view has been violated: “(1) the length of the delay; (2) the reasons for the de-
lay; (3) the appellant’s assertion of the right to timely review and appeal; and
(4) prejudice.” Id. at 135 (first citing United States v. Jones, 61 M.J. 80, 83
(C.A.A.F. 2005); and then citing Toohey v. United States, 60 M.J. 100, 102
(C.A.A.F. 2004) (per curiam)).
    The CAAF has held that where there is no qualifying prejudice from the
delay, there is no due process violation unless the delay is so egregious as to
“adversely affect the public’s perception of the fairness and integrity of the mil-
itary justice system.” United States v. Toohey, 63 M.J. 353, 362 (C.A.A.F. 2006).




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                   United States v. Myers, No. ACM S32749


    In Moreno, the CAAF identified three types of cognizable prejudice for pur-
poses of an appellant’s due process right to timely post-trial review: (1) oppres-
sive incarceration; (2) anxiety and concern; and (3) impairment of the appel-
lant’s ability to present a defense at a rehearing. 63 M.J. at 138–39 (citations
omitted). Where the appellant does not prevail on the substantive grounds of
his appeal, as in this case, there is no oppressive incarceration. Id. at 139. Sim-
ilarly, where an appellant’s substantive appeal fails, his ability to present a
defense at a rehearing is not impaired. Id. at 140. With regard to anxiety and
concern, “the appropriate test for the military justice system is to require an
appellant to show particularized anxiety or concern that is distinguishable
from the normal anxiety experienced by prisoners awaiting an appellate deci-
sion.” Id. Appellant has made no showing of such particularized anxiety or con-
cern with respect the delay in question, and we perceive none.
    Accordingly, we consider whether the delay in this case was so egregious
as to adversely affect the public’s perception of the military justice system.
Toohey, 63 M.J. at 362. We conclude it was not. With regard to appellate delay,
we note this court has issued its opinion just three weeks over the 18-month
Moreno standard. Appellant filed his initial assignments of error on 6 February
2024—370 days after his case was docketed and after seeking and being
granted 10 enlargements of time over the Government’s opposition. The Gov-
ernment submitted its answer on 7 March 2024. Appellant submitted his reply
brief on 14 March 2024. In the absence of any particularized prejudice to Ap-
pellant, we find the delay did not violate Appellant’s right to due process. Fi-
nally, recognizing our authority under Article 66, UCMJ, we have also consid-
ered whether relief for excessive post-trial delay is appropriate in this case
even in the absence of a due process violation. See United States v. Tardif, 57
M.J. 219, 225 (C.A.A.F. 2002). After considering the factors enumerated in
United States v. Gay, 74 M.J. 736, 742 (A.F. Ct. Crim. App. 2015), aff’d, 75 M.J.
264 (C.A.A.F. 2016), we conclude no such relief is appropriate.

                                III. CONCLUSION
    The findings and sentence as entered, are correct in law and fact, and no
error materially prejudicial to the substantial rights of Appellant occurred. Ar-
ticles 59(a) and 66(d), UCMJ, 10 U.S.C. §§ 859(a), 866(d).




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             United States v. Myers, No. ACM S32749


Accordingly, the findings and sentence are AFFIRMED.


               FOR THE COURT



               CAROL K. JOYCE
               Clerk of the Court




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